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            In the United States Court of Federal Claims
                                          No. 19-1133
                                     Filed: August 9, 2019

                                       )
 DYNCORP INTERNATIONAL LLC,            )
                                       )
                Plaintiff,             )
                                       )
 v.                                    )
                                       )
 THE UNITED STATES,                    )
                                       )
                Defendant,             )
                                       )
                and                    )
                                       )
 KELLOGG, BROWN & ROOT                 )
 SERVICES, INC., VECTRUS SYSTEMS )
 CORPORATION, FLUOR                    )
 INTERCONTINENTAL, INC., and PAE- )
 PARSONS GLOBAL LOGISTICS              )
 SERVICES, LLC,                        )
                                       )
                Defendant-Intervenors. )
                                       )

                                    SCHEDULING ORDER

       On August 7, 2019, the Court held a status conference to discuss the parties’ respective
proposals for a procedural schedule. The agency intends to voluntarily stay contract
performance until December 4, 2019. Pursuant to discussions held during that status conference,
the Court adopts the following schedule:

       1.       On or before September 18, 2019, defendant shall file the Administrative
                Record on CD or DVD;

       2.       On or before October 2, 2019, plaintiff shall file its Motion for Judgment
                on the Administrative Record;

       3.       On or before October 16, 2019, defendant and defendant-intervenors shall
                file their Responses to plaintiff’s Motion for Judgment on the
                Administrative Record and Cross-Motions for Judgment on the
                Administrative Record;
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4.       On or before October 28, 2019, plaintiff shall file its Reply in Support of
         its Motion for Judgment on the Administrative Record and Response to
         defendant and defendant-intervenors’ Cross-Motions for Judgment on the
         Administrative Record;

5.       On or before November 6, 2019, defendant and defendant-intervenors
         shall file their Replies in Support of their Cross-Motions for Judgment on
         the Administrative Record; and

6.       The Court shall conduct oral argument on Thursday, November 21, 2019,
         at 2:00 p.m. (EST), at the United States Court of Federal Claims, National
         Courts Building, 717 Madison Place, NW, Washington, DC 20439,
         regarding the above.

IT IS SO ORDERED.


                                               s/   Loren A. Smith
                                            Loren A. Smith,
                                            Senior Judge




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